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IN THE UNITED srArEs DrsrRrCr CoURr § _ d n
FoR THE WESTERN DISTRICT oF TENansEEu :3- its § 3 FFr c~= 5 l

 

 

  

 

WESTER_N DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
§é‘~"~`“§ §§ §
VS' Cr. No. 04-20041-1:) `%Y § §
__ 5 __<
MICHAEL sANDERs §§ _ _
§
Defendant. §§ z
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MOTION TO CONTINUE R_EPORT

 

Comes now the defendant, Mr. Michael Sanders, through Counsel of record, Mary C.
Jerrnann, With this, his motion to continue the report of this matter, currently set for May 19
at 9:00 am, before this Honorable Court, and Would state and show the following
l. By agreement of the parties, this matter is to be resolved in the State Criminal Court.

Counsel is Waiting for a court date to be assigned
2. AUSA Stephen Hall Will not have any objection to this motion.

3. Defendant is presently serving a State ofMississippi sentence, and is receiving time credits

for same, thus a continuance of this matter WilI not adversely effect his interests.

WHEREFORE, PREMISES CONS]DERED, Defendant moves this Honorable Court for

an order continuing this matter one Week, so that the above matters can be resolved.

NTOT|ON GRANTY

DATE‘ - 20

      
 
  

  

ERNICE BOU|E DONAL
U.S. DlSTRlCT JUDGE

 

This doerment entered on the docket sheet ln compilaan

with Htlle 55 andjor 32(1)) FRCrP on " 2

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Respectfully submitted,

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Mary C. J'ermairn
Assistant Federti\l Defen er
200 Jefferson Stre
Mernphis, TN 38103
901) 544-3895

 
 

CERT[FICATE OF SERVICE

The Office of the Federal Defender has this date delivered a copy of the foregoing to Mr.
Stephen Hall, ASA, Sth Floor Federal Building, Memphis, TN 38103.

THrs l% dayofMay,zoos.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-2004l Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed

 

 

Stephen P. Hall

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Honorable Bernice Donald
US DISTRICT COURT

